Case 1:17-cr-00034-.]RH-BKE Document 311 Filed 06/21/18 Page 1 of 1

 

UNITED STATES DIS'I`RICT COURT
S()UTHERN DISTRICT OF GEORGIA
AUGUSTA DIVISION
UNITED STATES OF AMERICA N 0 T I C E

v. l:lScr034

REALITY LEIGH WINNER

 

TAKE NOTICE that a proceeding in the above action has been scheduled for the place, date and
time set forth below:

 

DATE AND Tll\/IE: TUESDAY JUNE 26 2018 AT 10:00 A.M.

 

Any requests for continuance or rescheduling should be in the form ofa motion and filed with
the Clerk of Court.

Please allow extra arrival time to clear security at the door, and be prepared to produce
personal identification at the security desk when entering the building. Cell phones and pagers
are not permitted. Attorney vehicles may be parked within the campus.

 

PLACE: FEDERAL JUSTICE CENTER
UNITED STATES DISTRICT COURT
600 JAMES BROWN BOULEVARD
COURTROOM 2
AUGUSTA, GEORGIA

** ENTER THE CAMPUSAT THE GUARDHOUSE - 600 JAMES BROWN BOULEVARD

 

TYPE OF PROCEEDING: CHANGE OF PLEA l-IEARING

 

DATEZ .lune 2|, 2018

 

TO: Judge Hall l hereby certify that the foregoing notice was served on the date of
USMS issuance upon each of the stated recipients by fax, personal delivery,
AUSA or electronic mail.
USPO
Defendant SCOTT POFF
Joe D. Whitley CLE F CO R
Matthew Scott Chester '
Brett A. Switzer B‘(:
Thomas H. Bamard Lisa Widener, Courtroom Deputy Cierk
John C. Bell, .lr. 706-823-6467

Titus Thomas Nichols
Katherine Cicardo Mannino

